Case 2:11-cv-04743-ADS-AKT Document 162 Filed 02/22/14 Page 1 of 37 PageID #: 7160



  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ---------------------------------------------------------X
  SPREAD ENTERPRISES, INC., d/b/a OLA
  BRASIL, individually and on behalf of all others
  similarly situated,
                                                               MEMORANDUM OF
                            Plaintiff,                         DECISION AND ORDER
                                                               11-CV-4743 (ADS)(AKT)
                   -against-

  FIRST DATA MERCHANT SERVICES
  CORPORATION, a Florida corporation, and
  WELLS FARGO BANK, N.A., a foreign
  corporation,

                    Defendants.
  ---------------------------------------------------------X
  APPEARANCES:

  Kaplan Fox & Kilsheimer, LLP
  Attorneys for the Plaintiff
  850 Third Avenue, 14th Floor
  New York, NY 10022
         By: Frederic S. Fox, Esq., Of Counsel

  Law Office of Lawrence B. Lambert
  Attorney for the Plaintiff
  One Datran Center, Suite 400
  9100 S Dadeland Boulevard
  Miami, FL 33156
         By: Lawrence B. Lambert, Esq., Of Counsel

  Wites & Kapetan, PA
  Attorneys for the Plaintiff
  4400 North Federal Highway
  Lighthouse Point, FL 33064
         By: Marc A. Wites, Esq., Of Counsel

  Fox Rothschild, LLP
  Attorneys for the Defendants
  2000 Market Street, 10th Floor
  Philadelphia, PA 19103
         By: David H. Colvin, Esq.
               Scott L. Vernick, Esq.
               Oksana Gaussy Wright, Esq., Of Counsel

                                                          1
Case 2:11-cv-04743-ADS-AKT Document 162 Filed 02/22/14 Page 2 of 37 PageID #: 7161




  Riley Warnock & Jacobson, PLC
  Attorneys for the Defendants
  1906 West End Avenue
  Nashville, TN27203
         By: John Peterson, Esq., Of Counsel

  SPATT, District Judge.

          On September 28, 2011, the Plaintiff Spread Enterprises, Inc., d/b/a Ola Brasil,

  individually and on behalf of all others similarly situated(“Spread” or the “Plaintiff”),

  commenced this action against First Data Merchant Services Corporation (“FDMS”),Wells

  Fargo Bank, N.A. (“Wells Fargo”), and Bankcard Brokers, Inc. d/b/a CoCard Systems of South

  Florida, LLC (“CoCard”). Thereafter, on December 16, 2011, the Court “so ordered” the

  Plaintiff’s notice of voluntary dismissal as to CoCard, leaving FDMS and Wells Fargo

  (collectively, the “Defendants”) as the remaining Defendants in this action.

          Also on December 16, 2011, the Plaintiffs filed an Amended Complaint. In the Amended

  Complaint, the Plaintiff seeks to bring a class action and alleges that the Defendants have an

  “unlawful practice of overcharging merchants for certain unauthorized and extra-contractual

  transaction fees in connection with the process of credit card transactions.” (Amend. Compl., ¶

  1.) In this regard, on behalf of itself and all others similarly situated, the Plaintiff brought the

  following four causes of action: (1) breach of contract; (2) breach of the implied duty of good

  faith and fair dealing; (3) in the alternative to the first two claims, unjust enrichment; and (4)

  violation of New York General Business Law (“NYGBL”) § 349. However, in a Memorandum

  of Decision and Order dated August 22, 2012, the Court dismissed the Plaintiff’s claims for

  breach of implied duty of good faith and fair dealing; unjust enrichment and violation of

  NYGBL § 349. As such, the only pending claim is the Plaintiff’s breach of contract claim.




                                                     2
Case 2:11-cv-04743-ADS-AKT Document 162 Filed 02/22/14 Page 3 of 37 PageID #: 7162



         Presently before the Court is the Plaintiff’s motion to certify a class pursuant to Federal

  Rule of Civil Procedure (“Fed. R. Civ. P.”) 23. For the reasons set forth below, the Plaintiff’s

  motion is denied.

                                          I. BACKGROUND

  A. The Parties

         The Plaintiff Spread is a Florida corporation that operates a website called

  www.olabrasil.com, through which consumers use credit cards to purchase pre-paid minutes for

  international phone calls. The Defendant FDMS is also a Florida corporation and a credit card

  payment processor. The Defendant Wells Fargo is a Delaware corporation and a Member Bank

  of several associations for credit card transactions, such as Visa and Mastercard, and is eligible

  to sponsor credit card payment processors like FDMS to authorize, capture, settle and clear-

  credit card transactions.

         The Court pauses here to note that complete diversity is absent in this case, as the

  Plaintiff and FDMS are both citizens of the State of Florida. See Utopia Studios, Ltd. v. Earth

  Tech, Inc., 607 F. Supp. 2d 443, 445 (E.D.N.Y. 2009) (“It is well-settled that, for diversity

  jurisdiction purposes, a corporation is a citizen of the state where it is incorporated and of the

  state where it has its principal place of business.”). Generally, in order to exercise federal

  subject-matter jurisdiction over a state law claim, such as the Plaintiff’s breach of contract claim

  here, courts “require[ ] complete diversity between all plaintiffs and all defendants[.]”

  Manginelli v. Homeward Residential, Inc., No. 13 CV 2334(SJF)(AKT), 2013 WL 6493505, at

  *4 (E.D.N.Y. Dec. 9, 2013) (quoting Lincoln Property Co. v. Roche, 546 U.S. 81, 89, 126 S. Ct.

  606, 163 L.Ed.2d 415 (2005)) (internal brackets omitted). In other words, “diversity jurisdiction

  does not exist unless each defendant is a citizen of a different State from each plaintiff.”



                                                    3
Case 2:11-cv-04743-ADS-AKT Document 162 Filed 02/22/14 Page 4 of 37 PageID #: 7163



  Connecticut v. Moody’s Corp., Civil No. 3:10cv546(JBA), 2011 WL 63905, at *4 (D. Conn. Jan.

  5, 2011) (quoting Owen Equip. & Erection Co. V. Kroger, 437 U.S. 365, 374, 98 S. Ct. 2396, 57

  L. Ed. 2d 274 (1978)). Where there is not complete diversity between the parties, this Court

  lacks subject matter jurisdiction. See 28 U.S.C. § 1332(a)(1); Exxon Mobil Corp. v. Allapattah

  Servs., Inc., 545 U.S. 546, 553–54, 125 S. Ct. 2611, 162 L. Ed. 2d 502 (2005) (“Incomplete

  diversity destroys original jurisdiction with respect to all claims.”).

         However, “even in the absence of complete diversity,” a court may “still [have] subject

  matter jurisdiction over this action under the Class Action Fairness Act of 2005 (‘CAFA’),

  Pub.L.109–2, § 5, 119 Stat. 4 (2005).” Mattera v. Clear Channel Communications, Inc., F.R.D.

  70, 77 (S.D.N.Y. 20056) (citing 28 U.S.C. § 1332(d)). In this regard, “CAFA amended the

  federal diversity jurisdiction statute to confer federal jurisdiction over class actions where: (1)

  the proposed class contains at least 100 members (the ‘numerosity’ requirement); (2) minimal

  diversity exists between the parties, (i.e., where ‘any member of a class of plaintiffs is a citizen

  of a State different from any defendant’); and (3) the aggregate amount in controversy exceeds

  $5,000,000.” Smith v. Manhattan Club Timeshare Ass’n, Inc., 944 F. Supp. 2d 244, 249

  (S.D.N.Y. 2013) (quoting Purdue Pharma L.P. v. Kentucky, 704 F.3d 208, 213 (2d Cir.2013) (in

  turn, quoting 28 U.S.C. § 1332(d)(2)-(6))). “There are several exceptions to the federal

  jurisdiction conferred by CAFA[,]” but as none of these exceptions appear to be applicable here,

  the Court declines to discuss them. Id. (citing 28 U.S.C. § 1332(d)(3)-(4). “Under CAFA, as

  under the traditional rule, the party asserting subject matter jurisdiction has the burden of proving

  it.” Blockbuster, Inc. v. Galeno, 472 F.3d 53, 59 (2d Cir.2006).

         Therefore, since both the Plaintiff and the Defendant FDMS are citizens of the State of

  Florida, federal subject matter jurisdiction shall only be retained in the event that the Plaintiff



                                                     4
Case 2:11-cv-04743-ADS-AKT Document 162 Filed 02/22/14 Page 5 of 37 PageID #: 7164



  succeeds on its motion for class certification pursuant to Fed. R. Civ. P. 23. See, e.g.,

  McGaughey v. Treistman, No. 05 Civ. 7069(HB), 2007 WL 24935, at *3 (S.DN.Y. Jan. 4, 2007)

  (“[The] [p]laintiff’s action is no longer a class action, and this Court cannot retain subject matter

  jurisdiction in diversity over Plaintiff’s action pursuant to the Class Action Fairness Act.”)

  (citing 28 U.S.C. § 1332(d)(2)).

  B. An Overview of FDMS’s Processing Services and FDMS’s Relationship with Merchants

         Returning to the facts of this case, by means of business relationships that FDMS has

  formed with Member Banks, such as Wells Fargo, FDMS affords Merchants like the Plaintiff

  with the ability to accept credit card payments from their customers. Specifically, FDMS

  facilitates the process by which a consumer pays for a good or service via credit card. To this

  end, FDMS enters into contracts with different Merchants by which it agrees to perform several

  processing functions for the Merchant, such as the authorization, batching, clearing and

  settlement functions of a credit card transaction.

         FDMS provides these processing services for approximately six million Merchant

  locations, thousands of card issuers and millions of consumers all over the world. For example,

  in 2011, FDMS processed fifty-six billion transactions at 6.2 million merchant locations, earned

  gross revenues of $10.7 billion and employed 24,000 people.

         In general, actual credit card transactions involve several communications between the

  Merchant’s bank and the bank that issued the credit card that is used by the customer in the

  transaction (the “Issuing Bank”). This includes, as suggested above, authorization, batching,

  clearing and settlement. All of these communications are facilitated by FDMS, as the credit card

  processor.




                                                       5
Case 2:11-cv-04743-ADS-AKT Document 162 Filed 02/22/14 Page 6 of 37 PageID #: 7165



          “Authorization” is a processing service provided by FDMS by which a Merchant requests

  confirmation that a consumer has available credit to complete a transaction. During this process,

  the Merchant’s bank confirms with the Issuing Bank (1) the credit card number used by the

  consumer; (2) the validity of the credit card; and (3) the availability of funds. If the Issuing Bank

  approves authorization, the Issuing Bank reserves the funds needed to pay the Merchant’s bank,

  but transmits an approval to the Merchant’s bank without any funds.

          FDMS also offers Merchants a processing service called “Address Verification Service”

  (“AVS”), which is considered a sub-function of the Authorization service and is done for

  security purposes. In this regard, a Merchant’s AVS request typically accompanies an

  Authorization request and directs FDMS to confirm that a customer using a credit card has

  entered the correct billing address. In general, an AVS is performed for either mail order or

  telephone order (“MOTO”) transactions or for purchases made over the internet (“eCommerce”).

          “Batching” refers to the practice by a Merchant’s bank of storing the authorizations it

  receives in a daily “batch,” which it then submits through FDMS to the Issuing Bank at the end

  of each day for settlement. “Clearing” and “settlement” involves the Issuing Bank paying the

  Merchant’s bank for the transaction, less the associated fees. Payment is then delivered from the

  Merchant’s bank to the Merchant in the amount of the customer’s charge, again less applicable

  fees.

          However, a Merchant can submit a number of different kinds of processing service

  requests to FDMS, and not all of these requests involve FDMS performing an Authorization or

  an AVS. In this regard, in its Global Gateway API User Manual, FDMS identifies the types of

  processing service requests a Merchant can make as follows: (1) “[a] Sale transaction,” which “is

  a credit card transaction that immediately charges a customer’s credit card”; (2) an “Authorize



                                                   6
Case 2:11-cv-04743-ADS-AKT Document 162 Filed 02/22/14 Page 7 of 37 PageID #: 7166



  Only” transaction, which is “[a] credit card transaction that reserves funds on a customer’s credit

  card,” but “does not charge the customer until [the Merchant] performs a Ticket Only transaction

  and confirms shipment of the order”; (3) “[a] Ticket Only transaction,” which “is a post-

  authorization transaction that captures the funds from an Authorize Only transaction, reserving

  funds on the customer’s card for the amount specified”; (4) “[a] Forced Ticket transaction,”

  which “is a credit card transaction used similarly to a Ticket Only transaction, except it is

  specifically for authorizations obtained over the phone”; (5) “[a] return transaction,” which

  “returns funds to a customer’s credit card for an existing order on the system”; (6) “[a] credit

  transaction,” which “returns funds to a customer’s credit card for orders where [the Merchant]

  [does] not have an order number”; and (7) “[a] void transaction,” which “cancels the

  transaction.” (Pl. Mot., Exh. 10.) Of these processing transaction requests, only the Sale

  transaction and the Authorize only transaction require FDMS to perform an Authorization or an

  AVS.

         As suggested, some of the credit card Sale transaction requests which FDMS process

  occur in eCommerce. In those cases, a Merchant first submits the Sale transaction request by

  means of a payment “gateway” to one of FDMS’s four front-end “platforms,” which are

  computer network and software systems used by FDMS to process credit card transaction

  requests made by its merchant-clients. A gateway creates electronic instructions for processing

  and conveys those instructions to FDMS. In addition, a gateway translates, decrypts and

  encrypts transaction data so as to ensure that Merchants are in compliance with industry

  standards for data security. Each gateway has individualized features, functionality, computer

  architecture, file formats and methods of communicating with payment processors. The




                                                    7
Case 2:11-cv-04743-ADS-AKT Document 162 Filed 02/22/14 Page 8 of 37 PageID #: 7167



  combination of a gateway’s features and the decisions made by a Merchant may impact the way

  a Merchant submits his processing requests to FDMS.

         Once a Sale transaction request is transmitted from the gateway to one of FDMS’s

  platforms, the platform submits the Sale transaction request through the respective association,

  such as Mastercard or Visa, to the Issuing Bank. Upon receiving the Sale transaction request

  from FDMS, the Issuing Bank either authorizes or declines it. In the event it authorizes the Sale

  transaction request, the Issuing Bank notifies FDMS and reserves the necessary funds on the

  customer’s credit card to cover the proposed amount of the Sale transaction. FDMS then advises

  the Merchant that the Sale transaction was authorized. If the Sale transaction is authorized and

  completed, the Merchant instructs FDMS to “capture” the transaction, thereby confirming that

  the reserved funds should be set aside in the consumer’s credit card account for payment to the

  Merchant . As such, the customer’s credit card is charged. Importantly, for an approved Sale

  transaction request, the authorization and the capture happen simultaneously. However, if the

  Sale transaction request is declined, the Issuing Bank returns the Sale transaction request to

  FDMS without payment and FDMS notifies the Merchant that the Sale transaction request was

  declined.

         Authorization Only transaction requests are processed in a similar manner as Sale

  transaction requests, except that there is a delay between the authorization and capture parts of

  the transaction. For example, a Merchant may choose not to charge a customer’s credit card

  until it ships the goods to the customer. Thus, the Merchant first submits the Authorization Only

  request in order to reserve the necessary funds in the customer’s credit card account and then

  later submits a Ticket Only transaction request to capture the amount reserved on the credit card.




                                                   8
Case 2:11-cv-04743-ADS-AKT Document 162 Filed 02/22/14 Page 9 of 37 PageID #: 7168



  Accordingly, a Ticket Only transaction does not require FDMS to carry out a second

  authorization.

         In exchange for performing the services described above, Merchants agree to pay FDMS

  various fees, including Authorization and Capture Transaction fees. The Authorization and

  Capture Transaction fees are paid by the Merchant to the Issuing Bank and are typically a fixed

  amount as opposed to a percentage of the transaction amount. In this regard, the Issuing Bank

  deducts Authorization and Capture Transaction fees from the amount it pays the Merchant’s

  bank for the transaction. Apparently, according to the Plaintiff, in any given months, these fees,

  on average, are charged to the Merchant for approximately 115 percent of the Merchant’s

  completed Sale transactions. In other words, if a Merchant completes 100 Sale transactions in a

  month, it should expect to be charged about 115 Authorization and Capture Transaction fees for

  that same month. Of note, the Merchant will be charged fees for its transaction requests, even if

  said requests ultimately get declined.

         According to the Plaintiff, depending on which of FDMS’s platforms a Merchant decided

  to use, FDMS would charge Authorization and Capture Transaction fees and AVS fees even

  when the Merchant submitted a Ticket Only, Void, Return or Credit transaction request that did

  not require FDMS to perform either an Authorization or an AVS. Specifically, the Plaintiff

  alleges that FDMS’s Omaha Front-End Platform (the “Omaha Platform”) charged Merchants

  Authorization and Capture Transaction fees and AVS fees for every communication or

  transaction request they submitted, whereas FDMS’s Nashville Front-End Platform (the

  “Nashville Platform”) only billed Merchants for these fees if the Merchant’s request sought

  either an Authorization or an AVS.




                                                   9
Case 2:11-cv-04743-ADS-AKT Document 162 Filed 02/22/14 Page 10 of 37 PageID #: 7169



          Concerning how the Defendants obtain their merchant-clients, FDMS and Wells Fargo

   often work with independent companies referred to as “Independent Sale Organizations”

   (“ISOs”). In this regard, FDMS supports hundreds of ISOs. FDMS authorizes these ISOs to

   finds Merchants to enter into contracts for FDMS’s credit card processing services. For

   Merchants, the ISOs select payment processors; negotiate pricing with payment processors;

   choose processing platforms; provide training on how to present items for processing; monitor

   the merchant’s processing for fraud and other events; handle a broad array of customer service

   functions; and offer their own unique software systems that perform processing activities,

   including technical interfaces for sending processing requests to FDMS’s platforms. The ISOs

   also submit applications on behalf of the Merchants to FDMS for approval. Those applications

   approved by FDMS end up forming the contract between the Merchant, FDMS and the Member

   Bank. In exchange for its services, the ISO receives a percentage of the Transaction Fees.

          Therefore, a business relationship between a Merchant and FDMS commences when the

   Merchant executes a document formatted as both an application and a contract. This document

   is generally entitled “Merchant Processing Application and Agreement” ( “Merchant Processing

   Agreement”). Merchant Processing Agreements which involve FDMS frequently share common

   or similar provisions, but nevertheless come in different versions. As such, Merchant Processing

   Agreements can vary concerning whether FDMS is named as a party; whether certain fees are

   charged; the terms used for describing the billing of said fees; and the schedules, program guides

   and/or other contract documents that they have incorporated. ISOs also work with Merchants to

   modify Merchant Processing Agreements either by correspondence or by notices issued by the

   ISO or FDMS. As stated above, once executed by the Merchant, the Merchant Processing

   Agreement only becomes valid if and when it is accepted by FDMS.



                                                   10
Case 2:11-cv-04743-ADS-AKT Document 162 Filed 02/22/14 Page 11 of 37 PageID #: 7170



   C. The Business Relationship Between the Defendants and the Plaintiff

          On June 6, 2008, the Plaintiff entered into a Merchant Purchasing Agreement with the

   Defendants (the “Subject Agreement”). In this regard, CoCard, an ISO, arranged for the Plaintiff

   to enter into the Subject Agreement with the Defendants so as to enable the Plaintiff to accept

   credit card payments on its www.olabrasil.com website. CoCard and the Plaintiff have a long-

   standing business relationship, which pre-dates the Plaintiff’s relationship with the Defendants.

          The Subject Agreement directs the Plaintiff to FDMS’s website for the purpose of

   accessing the “Program Guide,” which is incorporated into the Subject Agreement by its terms.

   The Plaintiff did not participate in drafting the Subject Agreement. The Plaintiff was also not

   provided with the Program Guide prior to signing the Subject Agreement and, at the time, the

   Program Guide was apparently not accessible on FDMS’s website.

          Section 9 of the Subject Agreement provides that the Plaintiff will pay “Authorization

   and Capture Transaction Fees.” In this regard, the Subject Agreement lists the Authorization and

   Capture Fee as $0.20 per item. Section 9 also provides that the Plaintiff will pay a Voice

   Authorization fee of $0.95 per item; an Electronic AVS Fee of $0.05 per item; a Voice AVS Fee

   of $1.50 per item; an Automated Response Unit (“ARU”) Fee of $0.65 per item; a Chargeback

   Fee of $15 per item; a Retrieval Fee of $15 per item; a Minimum Monthly Fee of $0.25; a

   Monthly Statement Fee of $10 and an Early Termination Fee of $300. Neither the Subject

   Agreement, the Program Guide or any other FDMS document defines the term “per item” and

   the parties dispute its meaning.

          Purportedly, these above-mentioned fees were determined by CoCard and not by the

   Defendants. In this regard, on or about September 29, 2006, the Defendants and CoCard entered

   into a Marketing Agreement. The Marketing Agreement was thereafter amended by means of an



                                                   11
Case 2:11-cv-04743-ADS-AKT Document 162 Filed 02/22/14 Page 12 of 37 PageID #: 7171



   Extension Amendment entered into by the Defendants and CoCard on or about January 28, 2009.

   In the Marketing Agreement, as amended, CoCard agreed to pay FDMS $0.02 for each

   authorization attempt submitted by its merchant-clients to FDMS. Thus, with respect to the

   Plaintiff, CoCard was paid the $0.20 Authorization and Capture Transaction fee from the

   Plaintiff, less the $0.02 fee that was paid to FDMS pursuant to the Marketing Agreement.

   Similarly, the Marketing Agreement, as amended, provided that CoCard would pay FDMS $0.01

   for every electronic AVS performed by FDMS for CoCard’s merchant-clients, thereby leaving

   CoCard with the remaining $0.04 from the $0.05 Electronic AVS fee paid by the Plaintiff under

   the Subject Agreement.

          As to the Program Guide, it contains several “General Terms” indicating that FDMS

   retains sole and exclusive discretion to charge its merchant-clients for additional undisclosed and

   unenumerated transaction fees and to unilaterally increase other fees and charges payable by the

   Merchants. It states “[a]ll authorization fees will be charged for each transaction that you

   attempt to authorize” and “[a]ll capture fees will be charged for each transaction that you

   transmit to us for settlement.” (Pl. Mot., Exh. 6, ¶ 17.2.) However, neither the Program Guide

   nor the Subject Agreement provide definitions for “authorization fees” or “capture fees,” either

   in addition to or in contrast to the “Authorization and Capture Transaction Fee” set forth in

   Section 9 of the Subject Agreement. In fact, no other “authorization fees” or “capture fees” are

   included in the Program Guide or Subject Agreement outside of the Authorization and Capture

   Transaction Fee enumerated in Section 9.

          In addition, although not included among the provisions of the Subject Agreement, the

   Program Guide states that the Subject Agreement has a three-year term, In this regard, if the

   Plaintiff attempted to terminate the Subject Agreement during the three-year term, with limited



                                                   12
Case 2:11-cv-04743-ADS-AKT Document 162 Filed 02/22/14 Page 13 of 37 PageID #: 7172



   exceptions, FDMS would charge the Plaintiff with the $300 Early Termination Fee and was

   authorized to retain funds otherwise payable to the Plaintiff in a “Reserve Account.” According

   to the Program Guide, FDMS was permitted to establish the Reserve Account unilaterally by

   withholding funds owed to the Plaintiff for transactions processed by FDMS. Lastly, the

   Program Guide states that all legal disputes between the parties should be governed by New

   York law and that the venue for any such lawsuit would lie in the Eastern District of New York.

          CoCard and the Plaintiff made the decision to have the Plaintiff submit its processing

   requests to FDMS’s Omaha Platform, because it had certain benefits not available on FDMS’s

   other three front-end platforms. CoCard and the Plaintiff also decided that the Plaintiff would

   use a third-party gateway to submit its processing requests to FDMS.

          In this regard, the Plaintiff chose not to rely on FDMS to submit the electronic

   instructions that direct processing activity and, therefore, impact the fees charged. Instead, the

   Plaintiff turned to Authorize.net, a payment gateway, to provide this service. Authorize.net is

   certified to submit transactions to FDMS on the Omaha Platform and the Nashville Platform.

   The Plaintiff was warned that the use of a third-party gateway creates a risk concerning the fees

   that are charged.

          A little less than a year after entering into the Subject Agreement, on May 28, 2009, the

   Plaintiff altered the way in which it submitted its requests for processing by FDMS. In this

   regard, prior to May 28, 2009, the Plaintiff generally submitted Sale transaction requests for

   processing. In the three months leading up to May 28, 2009, the Plaintiff’s ratio of

   Authorization and Capture Transaction fees billed to complete Sale transactions was 122 percent

   for February of 2009; 122 percent for March of 2009 and 120 percent for April of 2009. This




                                                    13
Case 2:11-cv-04743-ADS-AKT Document 162 Filed 02/22/14 Page 14 of 37 PageID #: 7173



   averaged to a ratio of Authorization and Capture Transaction fees billed to complete sales of 121

   percent for the three month period.

          However, on May 29, 2009, the Plaintiff purchased an Advanced Fraud Detection Suite

   from Authorize.net, which automatically submitted separate Authorization Only transaction

   requests and Ticket Only transaction requests instead of Sale transaction requests. By

   automatically sending the Authorization Only transaction request followed later by a Ticket Only

   transaction request, the Advanced Fraud Detection Suite circumvents potential fraud in that it

   permits a Merchant to terminate a transaction before posting a charge to a customer’s account.

   As such, the Advanced Fraud Detection Suite altered the type and amount of requests that the

   Plaintiff submitted to FDMS for processing and the Plaintiff’s ratio of Authorization and Capture

   Transaction fees billed to complete Sale transactions rose to more than 200 percent.

          Approximately fifteen months after purchasing the Advanced Fraud Detection Suite, in

   October of 2010, the Plaintiff finally contacted Robert Cohen (“Cohen”), the CoCard

   representative who had enrolled the Plaintiff with FDMS. The Plaintiff informed Cohen about

   the increase in the amount of fees it was being charged and suggested that it was being

   overcharged by the Defendants.

          Of note, during the fifteen-month period between when the Plaintiff purchased the

   Advanced Fraud Detection Suite and when the Plaintiff contacted Cohen, the Plaintiff received

   monthly billing statements which revealed the increase in the Authorization and Capture

   Transaction fees. Further, while he did not regularly review the monthly billing statements,

   Marelo Andrade (“Andrade”), the Plaintiff’s principal, admitted that he had the opportunity to do

   so if he chose; that he understood the statements on those occasions when he did review them;

   and that he could ask CoCard questions regarding his statements. In addition, according to the



                                                  14
Case 2:11-cv-04743-ADS-AKT Document 162 Filed 02/22/14 Page 15 of 37 PageID #: 7174



   Program Guide, disputes of any charges must be made in writing within forty-five days of

   receiving a monthly statement.

             Cohen contacted Shedrick Triplett (“Triplett”), an employee of FDMS, who informed

   him, by email dated October 21, 2010, that the additional Authorization and Capture Transaction

   fee charges was due to the Plaintiff using Authorize.net as its gateway in combination with its

   use of the Omaha Platform. He suggested that the Plaintiff begin processing on the Nashville

   Platform. Triplett also informed Cohen that the Plaintiff would not receive any reimbursement

   for any previous charges.

             Thus, the Plaintiff decided to move from using FDMS’s Omaha Platform to using

   FDMS’s Nashville Platform. Unlike the Omaha Platform, the Nashville Platform did not bill the

   Plaintiff for every request it submitted, but instead only charged Authorization and Capture

   Transaction fees and AVS fees when the Plaintiff’s request resulted in FDMS performing an

   Authorization or an AVS for the Merchant. After making the switch, the Plaintiff’s ratio of

   Authorization and Capture Transaction fees billed to complete Sale transactions dipped to 122

   percent in November of 2010 and 120 percent for December of 2010, and then only rose slightly

   to 124 percent for January of 2011. Thus, the average ratio of Authorization and Capture

   Transaction fees billed to completed Sale transactions was 122 percent for this three month

   period.

             By letter dated December 9, 2010, Mark Jurke (“Jurke”), one of FDMS’s Directors,

   informed Andrade that all Authorization and Capture Transaction fees that the Plaintiff had been

   charged by FDMS had been proper under the terms of the Subject Agreement and the Program

   Guide. In this regard, Jurke explained that the Plaintiff submitted separate transaction requests




                                                   15
Case 2:11-cv-04743-ADS-AKT Document 162 Filed 02/22/14 Page 16 of 37 PageID #: 7175



   for Authorization and for Settlement and that the Subject Agreement disclosed that the Plaintiff

   would be charged a separate fee amount for each of these items.

          However, internally, FDMS’s employees exchanged a series of emails concerning the

   “overcharging” or “double-billing” that occurred when Merchants like the Plaintiff processed on

   the Omaha Platform as opposed to the Nashville Platform, particularly if those Merchants were

   using Authorize.net as their gateway. They suggested potential solutions such as moving

   Merchants who experienced this problem to the Nashville Platform or updating the code on the

   Omaha Platform.

   D. The Plaintiff’s Class Action Lawsuit

          Based on the foregoing, the Plaintiff alleges that the Omaha Platform caused FDMS to

   overcharge the Plaintiff fees by more than $20,000. The Plaintiff further alleges that other

   merchant-clients who have contracted with FDMS and who have their request processed on the

   Omaha Platform have similarly been overcharged due to FDMS charging multiple fees per credit

   card transaction. In this regard, the Plaintiff claims that through the Omaha Platform, FDMS

   charged it and other Merchants multiple Authorization and Capture Transaction fees for each

   transaction request instead of a single fee for a completed Sales transaction. According to the

   Plaintiff, FDMS deducted these extra fees automatically from the bank accounts of the Plaintiff

   and other Merchants.

          Although the monetary amount of the alleged extra fees are very small monetarily, the

   Plaintiff contends that in the aggregate, based on the millions of transactions FDMS process each

   day, FDMS generates thousands of dollars from these fees each day. In addition, the Plaintiff

   estimates that more than 30,000 Merchants have been impacted by FDMS’s purported

   overcharging.



                                                   16
Case 2:11-cv-04743-ADS-AKT Document 162 Filed 02/22/14 Page 17 of 37 PageID #: 7176



          Therefore, the Plaintiff seeks to assert a breach of contract claim on behalf of a class

   pursuant to Fed. R. Civ. P. 23. The Plaintiff proposes four subclasses, as follows:

                          Ticket Only SubClass 1: All Merchants nationwide who
                  were parties to a [Merchant Processing Agreement] with FDMS
                  from September 28, 2005 to June 20, 2012, that provided for the
                  assessment of Authorization and/or AVS Fees, who submitted
                  transactions to FDMS’[s] Omaha [ ] Platform and were charged
                  Auth[orization and Capture Transaction] Fees in connection with
                  Ticket Only transactions.

                         Ticket Only SubClass 2: All Merchants nationwide who
                  were parties to a [Merchant Processing Agreement] with FDMS
                  and Wells Fargo from September 28, 2005 to June 20, 2012, that
                  provided for the assessment of Authorization and/or AVS Fees,
                  who submitted transactions to FDMS’[s] Omaha [ ] Platform and
                  were charged Auth[orization and Capture Transaction] Fees in
                  connection with Ticket Only transactions.

                          Contested SubClass 1: All Merchants nationwide who
                  were parties to a [Merchant Processing Agreement] with FDMS
                  from September 28, 2005 to the present that provided for the
                  assessment of Authorization and/or AVS Fees, who submitted
                  transactions to FDMS’[s] Omaha [ ] Platform and were charged
                  excessive fees, including (a) Auth[orization and Capture
                  Transaction] Fees for Return, Void Sales, Void Return, and/or
                  Void Ticket Only transactions and (b) AVS Fees in connection
                  with Return, Ticket Only, Void Sales, Void Return, and Void
                  Ticket Only transactions.

                         Contested SubClass 2: All Merchants nationwide who
                  were parties to a [Merchant Processing Agreement] with FDMS
                  and Wells Fargo from September 28, 2005 to the present that
                  provided for the assessment of Authorization and/or AVS Fees,
                  who submitted transactions to FDMS’[s] Omaha [ ] Platform and
                  were charged excessive fees, including (a) Auth[orization and
                  Capture Transaction] Fees for Return, Void sales, Void Return,
                  and/or Void Ticket Only transactions and (b) AVS Fees in
                  connection with Return, Ticket Only, Void Sales, Void Return, and
                  Void Ticket Only transactions.




                                                   17
Case 2:11-cv-04743-ADS-AKT Document 162 Filed 02/22/14 Page 18 of 37 PageID #: 7177



   (Pl. Mem., pg. 21–22.) However, in its reply, the Plaintiff has agreed to modify Contested

   SubClass 1 and Contested SubClass 2 to eliminate the phrase “excessive fees, including,” in the

   event the Court deems it necessary.

                                           II. DISCUSSION

   A. Legal Standard for Class Certification

          Before certifying a putative class, the Court must determine (1) whether the class meets

   the four Rule 23(a) requirements of numerosity, commonality, typicality and adequacy; and if so,

   (2) whether the class satisfies one of the three categories listed in Rule 23(b). See Brown v.

   Kelly, 609 F.3d 467, 476 (2d Cir. 2010); Teamsters Local 445 Freight Div. Pension Fund v.

   Bombardier, Inc., 546 F.3d 196, 202 (2d Cir. 2008); City of Livonia Employees' Ret. Sys. v.

   Wyeth, 284 F.R.D. 17, 176–77 (S.D.N.Y. 2012). “The party seeking class certification bears the

   burden of establishing by a preponderance of the evidence that each of Rule 23’s requirements

   has been met.” Myers v. Hertz Corp., 624 F.3d 537, 547 (2d Cir. 2010).

          As the Supreme Court has observed:

                      Rule 23 does not set forth a mere pleading standard. A party
                  seeking class certification must affirmatively demonstrate his
                  compliance with the Rule--that is, he must be prepared to prove
                  that there are in fact sufficiently numerous parties, common
                  questions of law or fact, etc . . . [S]ometimes it may be necessary
                  for the court to probe behind the pleadings before coming to rest
                  on the certification question, and [] certification is proper only if
                  the trial court is satisfied, after a rigorous analysis, that the
                  prerequisites of Rule 23(a) have been satisfied. Frequently that
                  rigorous analysis will entail some overlap with the merits of the
                  plaintiff's underlying claim. That cannot be helped.

   Wal-Mart Stores, Inc. v. Dukes, __ U.S. __, __, 131 S. Ct. 2541, 2551, 180 L. Ed. 2d 374, 390

   (2011) (citations and internal quotation marks omitted); see also Secs. Litig. v. Gen. Reinsurance

   Corp. (In re Am. Int’l Group Inc.), 689 F.3d 229, 237 (2d Cir. 2012); Oakley v. Verizon



                                                    18
Case 2:11-cv-04743-ADS-AKT Document 162 Filed 02/22/14 Page 19 of 37 PageID #: 7178



   Comm’ns., Inc., No. 09 Civ. 9175(CM), 2012 WL 335657, at *12 (S.D.N.Y. Feb. 1, 2012)

   (holding that while “[t]he certifying court should not make any factual findings or merits

   determinations that are not necessary to the Rule 23 analysis, . . . where merits issues cannot be

   avoided they must be addressed”). Thus, “the United States Supreme Court has made it clear

   that courts cannot certify classes where Rule 23 requirements are not met, and should not contort

   the requirements in order to certify.” Oakley, 2012 WL 335657, at *12.

          However, in deciding certification, courts must still take a liberal rather than a restrictive

   approach in determining whether the plaintiff satisfies Rule 23’s requirements and may exercise

   broad discretion when determining whether to certify a class. See Flores v. Anjost Corp., 284

   F.R.D. 112, 122 (S.D.N.Y. 2012); Pecere v. Empire Blue Cross and Blue Shield, 194 F.R.D. 66,

   69 (E.D.N.Y. 2000). Further, “[t]he dispositive question is not whether the plaintiff has stated a

   cause of action or will prevail on the merits, but rather whether the requirements of Rule 23 are

   met.” Kowalski v. YellowPages.com, LLC, 10 Civ. 7318 (PGG),2012 WL 1097350, at *12

   (S.D.N.Y. Mar. 31, 2012) (quoting Lewis Tree Service, Inc. v. Lucent Technologies, 211 F.R.D.

   228, 231 (S.D.N.Y. 2002).

          1. The Rule 23(a) Requirements

          As stated above, to qualify for class certification, the Plaintiff must first prove that the

   putative class meets the four threshold requirements of Rule 23(a). These requirements are as

   follows:

                  (1) the class is so numerous that joinder of all members is
                  impracticable, (2) there are questions of law or fact common to the
                  class, (3) the claims or defenses of the representative parties are
                  typical of the claims or defenses of the class, and (4) the
                  representative parties will fairly and adequately protect the
                  interests of the class.




                                                    19
Case 2:11-cv-04743-ADS-AKT Document 162 Filed 02/22/14 Page 20 of 37 PageID #: 7179



   Fed. R. Civ. P. 23(a)(1)–(4);see also Salim Shahriar v. Smith & Wollensky Rest. Group, Inc.,

   659 F.3d 234, 251 (2d Cir. 2011).

                  a. Numerosity

          Rule 23(a)(1), known as the numerosity requirement, requires that the class be “so

   numerous that joinder of all members is impracticable.” Fed. R. Civ. P. 23(a)(1).

   “Impracticable,” in this context, does not mean impossible; instead Rule 23(a)(1) only requires

   that, in the absence of a class action, joinder would be “simply difficult or inconvenient.” Russo

   v. CVS Pharm., Inc., 201 F.R.D. 291, 294 (D. Conn. 2001); see also Robidoux v. Celani, 987

   F.2d 931, 935 (2d Cir. 1993).

          “There is no magic minimum number that will breathe life into a class, but generally,

   courts will find a class sufficiently numerous when it comprises forty or more members.” Russo,

   201 F.R.D. at 294 (citations and internal quotation marks omitted). “As plaintiff bears the

   burden of demonstrating numerosity, he must show some evidence of or reasonably estimate the

   number of class members.” Id. at 295. Therefore, while “evidence of exact size or identity of

   class members is not required,” a plaintiff cannot rely on “pure speculation or bare allegations”

   in order to demonstrate numerosity. Flores, 284 F.R.D. at 123 (citations and internal quotation

   marks omitted).

          However, “in assessing numerosity[,] a court may [also] make common sense

   assumptions without the need for precise quantification of the class.” Russo, 201 F.R.D. at 294;

   see also Flores, 284 F.R.D. at 123. In addition, particularly when a class is not obviously

   numerous, the Court should consider the following factors: “judicial economy arising from the

   avoidance of a multiplicity of actions, geographic dispersion of class members, financial

   resources of class members, the ability of claimants to institute individual suits, and requests for



                                                    20
Case 2:11-cv-04743-ADS-AKT Document 162 Filed 02/22/14 Page 21 of 37 PageID #: 7180



   prospective injunctive relief which would involve future class members.” Robidoux, 987 F.2d at

   936; see also Pecere, 194 F.R.D. at 70; Martin v. Shell Oil Co., 198 F.R.D. 589, 590 (D. Conn.

   2000).

                   b. Commonality

            “To satisfy the commonality requirement of Rule 23(a)(2), there must be ‘a showing that

   common issues of fact or law exist and that they affect all class members.’” Kowalski, 2012 WL

   1097350, at *13 (quoting Leone v. Ashwood Fin., Inc., 257 F.R.D. 343, 351 (E.D.N.Y. 2009)).

   However, the individual circumstances of the class members can differ without precluding class

   certification, so long as “the common questions are at the core of the cause of action alleged.”

   Vengurlekar v. Silverline Techs., Ltd., 220 F.R.D. 222, 227 (S.D.N.Y. 2003); see also Kowalski,

   2012 WL 1097350, at *13 (holding that “[t]he commonality standard does not mandate that the

   claims of the lead plaintiff be identical to those of all other plaintiffs” but does “require[ ] that

   plaintiffs identify some unifying thread among the members’ claims that warrants class

   treatment”) (citations and internal quotation marks omitted).

            In its 2011 decision in Wal-Mart Stores Inc. v. Dukes, the Supreme Court held that

   “[c]ommonality requires the plaintiff to demonstrate that the class members have suffered the

   same injury,” as opposed to simply “suffer[ing] a violation of the same provision of law.”

   Dukes, 131 S. Ct. at 2551. In other words, “[t]heir claims must depend upon a common

   contention . . . that it is capable of classwide resolution – which means that determination of its

   truth or falsity will resolve an issue that is central to the validity of each one of the claims in one

   stroke.” Id. at 2551. Thus, “[w]hat really matters to class certification . . . is not the raising of

   common questions – even in droves – but, rather the capacity of a classwide proceeding to




                                                      21
Case 2:11-cv-04743-ADS-AKT Document 162 Filed 02/22/14 Page 22 of 37 PageID #: 7181



   generate common answers apt to drive the resolution of the litigation.” Id. at 2551 (citations and

   internal question marks omitted) (emphasis in original); see also Flores, 284 F.R.D. at 125.

                  c. Typicality

          Rule 23(a)(3) requires that “each class member’s claim arises from the same course of

   events and each class member makes similar legal arguments to prove the defendant’s liability.”

   Robidoux, 987 F.2d at 936. Known as the typicality requirement, this provision is meant to

   ensure that the class representative is not subject to a unique defense which could potentially

   become the focus of the litigation. Vengurlekar, 220 F.R.D. at 227. However, “[w]hen it is

   alleged that the same unlawful conduct was directed at or affected both the named plaintiff and

   the class sought to be represented, the typicality requirement is usually met irrespective of minor

   variations in the fact patterns underlying individual claims.” Robidoux, 987 F.2d at 936–937;

   see also Vengurlekar, 220 F.R.D. at 227 (holding that “the mere existence of individualized

   factual questions with respect to the class representative’s claim will not bar class certification”)

   (citations and internal quotation marks omitted).

                  d. Adequacy of Representation

          Rule 23(a)(4)’s adequacy of representation requirement requires that a plaintiff “also

   show that the proposed action will fairly and adequately protect the interests of the class,”

   Vengurlekar, 220 F.R.D. at 227, and “serves to uncover conflicts of interest between names

   parties and the class they seek to represent,” Wyeth, 284 F.R.D. at 179. See Vengurlekar, 220

   F.R.D. at 227 (“The adequacy inquiry under Rule 23(a)(4) serves to uncover conflicts of interest

   between named parties and the class they seek to represent.”) (citation omitted).

          In order to satisfy Rule 23(a)(4), a “plaintiff[ ] first must demonstrate that class counsel is

   qualified, experienced, and generally able to conduct the litigation.” Id. (citations and internal



                                                    22
Case 2:11-cv-04743-ADS-AKT Document 162 Filed 02/22/14 Page 23 of 37 PageID #: 7182



   quotation marks omitted). Second, a plaintiff must “show that [he has] no interests that are

   antagonistic to the proposed class members.” Id.

          2. The Rule 23(b)(3) Requirements

          As indicated above, once a plaintiff satisfies the four Rule 23(a) requirements, she must

   also prove that the putative class is maintainable under at least one of the three categories

   enumerated in Rule 23(b). See In re Visa Check, 280 F.3d at 133. In this case, the Plaintiff seeks

   class certification under Rule 23(b)(3). A putative class is maintainable under Rule 23(b)(3)

   when “the court finds that questions of law or fact common to the members of the class

   predominate over any questions affecting only individual members and that a class action is

   superior to other available methods for the fair and efficient adjudication of the controversy.”

   Fed. R. Civ. P. 23(b)(3). See In re Am. Int’l Group Inc., 689 F.3d at 239. As set forth below, the

   Court finds that the Plaintiff has met the Rule 23(b)(3) requirements.

                  a. Predominance

          Rule 23(b)(3)’s predominance requirement “tests whether proposed classes are

   sufficiently cohesive to warrant adjudication by representation” in order to “ensure that the class

   will be certified only when it would achieve economies of time, effort, and expense, and promote

   uniformity of decision as to persons similarly situated, without sacrificing procedural fairness or

   bringing about other undesirable results.” Myers, 624 F.3d at 547 (citations and internal

   quotation marks and alterations omitted). Thus, while the commonality requirement of Rule

   23(a)(2) mandates that common questions of law or fact exist among the putative class members,

   the predominance requirement of Rule 23(b)(3) is more stringent and requires that such common

   questions be the focus of the litigation. See Continental Orthopedic Appliances, Inc. v. Health

   Insurance Plan of Greater New York, Inc., 198 F.R.D. 41, 44 (E.D.N.Y. 2000). Accordingly,



                                                    23
Case 2:11-cv-04743-ADS-AKT Document 162 Filed 02/22/14 Page 24 of 37 PageID #: 7183



   “the requirement is satisfied if resolution of some of the legal or factual questions that qualify

   each class member’s case as a genuine controversy can be achieved through generalized proof,

   and if these particular issues are more substantial than the issues subject only to individualized

   proof.” Myers, 624 F.3d at 547 (citations and internal quotation marks omitted).

                  b. Superiority

          “The second prong of Rule 23(b)(3), commonly referred to as the superiority element,

   requires the court to examine whether a class action is superior to other methods of

   adjudication.” See Vengurlekar, 220 F.R.D. at 228. Four factors the Court should consider in

   determining whether a class action is the superior method of adjudicating a putative class’ claim

   are provided in Rule 23(b)(3) as follows:

                  (A) the interest of the members of the class in individually
                  controlling the prosecution or defense of separate actions; (B) the
                  extent and nature of any litigation concerning the controversy
                  already commenced by or against members of the class; (C) the
                  desirability or undesirability of concentrating the litigation of the
                  claims in the particular forum; and (D) the difficulties likely to be
                  encountered in the management of a class action.

   Fed. R. Civ. P. 23(b)(3). See also Oakley, 2012 WL 335657, at *18.

   B. As to Whether Contested SubClass 1 and Contested SubClass 2 are Impermissible Fail-
   Safe Classes

          The Defendants first argue that the Plaintiff’s Contested SubClass 1 and Contested

   SubClass 2 are impermissible fail-safe classes. In this regard, the Defendants point to the use of

   the language “excessive fees” in the proposed definitions for these subclasses, since it injects an

   assumption of liability into the subclass definitions. The Court agrees.

          “A fail-safe class is one whose definition ‘shields the putative class members from

   receiving an adverse judgment . . . .’” Mazzei v. Money Store, 288 F.R.D. 45, 55 (S.D.N.Y.

   2012) (quoting Randleman v. Fidelity Nat’l Title Ins. Co., 646 F.3d 347, 352 (6th Cir. 2011)). In

                                                    24
Case 2:11-cv-04743-ADS-AKT Document 162 Filed 02/22/14 Page 25 of 37 PageID #: 7184



   other words, “[i]n a fail-safe class, either the class members win or, by virtue of losing, they are

   not in the class, and therefore not bound by the judgment.” Id.; see also Kamar v. Radio Shack

   Corp., 375 F. App’x 734, 736 (9th Cir. 2010) (“The fail-safe appellation is simply a way of

   labeling the obvious problems that exist when the class itself is defined in a way that precludes

   membership unless the liability of the defendant is established.”). Accordingly, “[a] proposed

   ‘fail-safe’ class should not be certified because it is unfair to defendants, it prevents an adverse

   judgment being entered against plaintiffs, and it is unmanageable because the members of the

   class could only be known after a determination of liability.” Mazzei, 288 F.R.D. at 55.

          In this case, the Plaintiff’s definitions for both Contested SubClass 1 and Contested

   SubClass 2 state that the class members “were charged excessive fees.” In the Court’s view, this

   language makes these subclasses impermissible fail-safe classes, since class membership would

   depend on whether or not the Defendants were found liable for overcharging.

          Instructive is the court’s decision in Mazzei v. Money Store, a case in which the court

   considered the following class definition: “All similarly situated borrowers who signed form loan

   mortgage agreements . . . on loans which were owned or serviced by [the defendants] and who

   from March 1, 2000 to the present (“Class Period”) were charged the following fees that were

   not permitted under the [form loan agreements].” 288 F.R.D. at 55 (emphasis, brackets and

   ellipse in the original). The Mazzei court held that “[d]efining the class to include only those

   who were charged fees ‘that were not permitted’ results in a fail-safe class” because “[t]he merits

   of [the plaintiff’s] claim depend[ed] on whether the fees ‘were not permitted,’” and therefore, “if

   the trier of fact decided that any or all of the fees were permitted under the form loan

   agreements, there would immediately be no members of the class for those fees.” Id.




                                                     25
Case 2:11-cv-04743-ADS-AKT Document 162 Filed 02/22/14 Page 26 of 37 PageID #: 7185



           The Court finds that the reasoning from Mazzei is applicable here. Specifically, the

   Plaintiff proposes class definitions for Contested SubClass 1 and Contested SubClass 2 that turn

   on whether the fees that the Merchants were being charged by the Defendants were excessive

   rather than on whether the Merchants were simply being charged a particular fee regardless of

   whether it was excessive. In this way, the proposed class definitions for these subclasses are not

   neutral in that they already presuppose that the subject fees were excessive, despite the fact that

   the Defendants dispute this allegation. Indeed, a question at the center of the Plaintiff’s breach

   of contract claim is whether the fees that the Defendants were charging Merchants were in

   excess of what was agreed upon in the Merchant Processing Agreements. As a result, for

   example, if a jury determined that the fees at issue were not excessive under the terms of the

   Merchant Processing Agreements, then there would no longer be any members of Contested

   SubClass 1 or Contested SubClass 2, because a Merchant’s membership in these subclasses

   relies upon the fees being excessive and not on whether they were charged the fees at issue.

           With that being said, “courts have the discretion ‘to. . . redefine the class to bring it

   within the scope of Rule 23[.]” Id. (quoting Cokely v. N.Y. Convention Ctr. Operating Corp.,

   No. 00 Civ. 4637(CBM), 2004 WL 1152531, at *2 n.3 (S.D.N.Y. May 21, 2004)); see also

   Brooklyn Ctr. for Independence of the Disabled v. Bloomberg, 287 F.R.D. 240, 250 (S.D.N.Y.

   2012) (“Under rule 23, district courts have the power to amend class definitions or decertify

   classes as necessary . . . . ‘In fact, the court has a duty to ensure that the class is properly

   constituted and has broad discretion to modify the class definition as appropriate to provide the

   necessary precision.’”) (quoting Morangelli v. Chemed Corp., 275 F.R.D. 99, 114 (E.D.N.Y.

   2011)). Therefore, the Court modifies the definitions for Contested SubClass 1 and Contested




                                                      26
Case 2:11-cv-04743-ADS-AKT Document 162 Filed 02/22/14 Page 27 of 37 PageID #: 7186



   SubClass 2 and removes the offending language “excessive fees, including,” thereby resolving

   the fail-safe problem. See Mazzei, 288 F.R.D. at 55–56.

          In this regard, the definitions for Contested SubClass 1 and Contested SubClass 2 shall

   now read as follows:

                           Contested SubClass 1: All Merchants nationwide who
                   were parties to a Merchant Processing Agreement with FDMS
                   from September 28, 2005 to the present that provided for the
                   assessment of Authorization and/or AVS Fees, who submitted
                   transactions to FDMS’s Omaha Platform and were charged (a)
                   Authorization and Capture Transaction Fees for Return, Void
                   Sales, Void Return, and/or Void Ticket Only transactions and
                   (b) AVS Fees in connection with Return, Ticket Only, Void Sales,
                   Void Return, and Void Ticket Only transactions.

                           Contested SubClass 2: All Merchants nationwide who
                   were parties to a Merchant Processing Agreement with FDMS and
                   Wells Fargo from September 28, 2005 to the present that provided
                   for the assessment of Authorization and/or AVS Fees, who
                   submitted transactions to FDMS’s Omaha Platform and were
                   charged (a) Authorization and Capture Transaction Fees for
                   Return, Void sales, Void Return, and/or Void Ticket Only
                   transactions and (b) AVS Fees in connection with Return, Ticket
                   Only, Void Sales, Void Return, and Void Ticket Only transactions.

   By making this modification, the Court has made it so membership in these subclasses rests not

   on whether a Merchant was charged excessive fees, which remains an unresolved and disputed

   issue, but instead on whether a Merchant was charged (1) Authorization and Capture Transaction

   Fees for Return, Void sales, Void Return, and/or Void Ticket Only transactions and (2) AVS

   Fees in connection with Return, Ticket Only, Void Sales, Void Return, and Void Ticket Only

   transactions.

   C. As to Whether the Plaintiff’s Motion for Class Certification Satisfies Fed. R. Civ. P. 23

          Although the Plaintiff’s subclass definitions may be modified in order to avoid the fail-

   safe problem, the Court nevertheless finds that the Plaintiff has failed to satisfy all four



                                                     27
Case 2:11-cv-04743-ADS-AKT Document 162 Filed 02/22/14 Page 28 of 37 PageID #: 7187



   requirements under Rule 23(a), as well as both of Rule 23(b)’s requirements. In particular, as the

   Court will explain in greater detail below, the Plaintiff’s motion fails with respect to numerosity,

   commonality and predominance. Therefore, the Court denies the Plaintiff’s motion for class

   certification.

           1. Numerosity

           To begin, in this case, the Plaintiff asserts that numerosity has been met, because the class

   is more than 30,000 Merchants. The Plaintiff bases this figure on factors including (1) the almost

   30,000 Merchants who processed transactions on the Omaha Platform who experienced one

   month during which the number of Authorization and Capture Transaction fees they were

   charged were at least double the amount of Sale transactions they completed; (2) the presumption

   that Merchants were overcharged if the number of Authorization and Capture Transaction fees

   they were charged was more than 115 percent the number of Sale transactions they completed in

   a particular month; (3) the suggestions by FDMS representatives that they often encountered

   overcharge complaints concerning Merchants using Authorize.net as their gateway; (4) the

   13,456 distinct Merchants who accessed the Omaha Platform in December of 2010 alone; (5) the

   at least 500 Merchants who process or processed on the Omaha Platform under Merchant

   Processing Agreements similar to the Subject Agreement; (6) the 66,884 Ticket Only transaction

   requests and 240,309 other non-authorization transaction requests that FDMS processed on

   behalf of Merchants on the Omaha Platform in January of 2011; (7) FDMS’s response to the

   Plaintiff’s first set of interrogatories in which it acknowledges that at least 500 Merchants used

   the Omaha Platform and had entered into a Merchant Processing Agreement that was the same or

   substantially similar to the Subject Agreement; (8) FDMS’s production of at least thirty-six form

   Merchant Processing Agreements containing language identical or similar to the Subject



                                                    28
Case 2:11-cv-04743-ADS-AKT Document 162 Filed 02/22/14 Page 29 of 37 PageID #: 7188



   Agreement with respect to charging Authorization and Capture Transaction fees on a per item

   basis and for Authorizations in general; (9) emails from ISOs concerning the number of

   Merchants who were moved from the Omaha Platform to the Nashville Platform in response to

   the alleged extra fees; and (10) the 13,456 Merchants who submitted transaction requests to the

   Omaha Platform using Authorize.net as their gateway during the last week of December 2011.

          On the other hand, the Defendants claim that no more than fifteen merchants were

   impacted by what the Plaintiff describes as “over-charging.” The Defendants’ estimate is based

   upon (1) the testimony of Authorize.net’s corporate designee that only three to six merchants

   complained about issues similar to the ones complained of by the Plaintiff; (2) the testimony of

   CoCard that it only moved five to ten Merchants from the Omaha Platform to the Nashville

   Platform in order to address the issue that the Plaintiff experienced; (3) the testimony of Triplett,

   an FDMS employee since 2001, that only six to ten Merchants faced the issue that confronted the

   Plaintiff; (4) the testimony of Scott MacNaughton, an FDMS employee from 1995, that only ten

   to fifteen Merchants complained about the issue complained of by the Plaintiff; and (5) the

   testimony of Rick Learch, an employee of FDMS since 1985, that he was unaware of any other

   Merchants experiencing the same issue that the Plaintiff faced.

          After reviewing the evidence, in the Court’s view, the Plaintiff’s estimate concerning the

   size of the Class is speculative. For example, the Plaintiff argues that the numerosity

   requirement of Fed. R. Civ. P. 23(a)(1) has been satisfied based in part on the Defendants’

   admission that at least 500 Merchants had their requests processed on the Omaha Platform under

   Merchant Processing Agreements that were substantively the same as the Subject Agreement.

   The Plaintiff also points to FDMS’s production of at least thirty-six form Merchant Processing

   Agreements containing language identical or similar to the Subject Agreement with respect to



                                                    29
Case 2:11-cv-04743-ADS-AKT Document 162 Filed 02/22/14 Page 30 of 37 PageID #: 7189



   charging Authorization and Capture Transaction fees on a per item basis and for Authorizations

   in general. However, just because these Merchants used the Omaha Platform or may have

   entered into Merchant Processing Agreements similar to the Subject Agreement does not

   necessarily mean that these other Merchants encountered issues similar to the Plaintiff. These

   Merchant could have been using different gateways other than Authorize.net to submit their

   processing requests. Further, even if they were using Authorize.net, they may not have enrolled

   in the Advanced Fraud Detection Suite, which appears to be responsible for generating the

   Plaintiff’s separate Authorization Only transaction requests and Ticket Only transaction requests.

          In similar fashion, the Plaintiff also relies on the large number of Merchants who

   processed transactions on the Omaha Platform during which the number of Authorization and

   Capture Transaction fees they were charged were at least double the amount of Sales transactions

   they completed. Therefore, the Plaintiff suggests that these Merchants must have been

   overcharged because they were charged more than 115 percent of the amount of sales they

   completed. Again, the Court finds the Plaintiff’s position to be speculative. Indeed, the Plaintiff

   fails to take into account that these Merchants may have (1) entered into Merchant Processing

   Agreements that differ significantly from the Subject Agreement; (2) been using gateways other

   than Authorize.net; (3) not enrolled in the Advanced Fraud Detection Suite, even if they were

   using Authorize.net as their gateway; and (4) made certain business decisions which resulted in

   the larger ratio of Authorization Capture Transaction fees charged to Sale transactions

   completed.

          In Pagan v. Abbott Laboratories, Inc., 287 F.R.D. 139 (E.D.N.Y. 2012) (Spatt, J.), this

   Court previously determined that the failure to affirmatively demonstrate numerosity is fatal to a

   plaintiff’s motion for class certification under Fed. R. Civ. P. 23. In that case, the plaintiffs



                                                     30
Case 2:11-cv-04743-ADS-AKT Document 162 Filed 02/22/14 Page 31 of 37 PageID #: 7190



   brought a products liability claim and sought to certify a class of residents from New York and

   New Hampshire who had purchased allegedly defective baby formula that had been recalled by

   the defendant. The plaintiffs argued that they had established numerosity because “182,092 end-

   consumer recall-notification letters were mailed between September 24, 2010 and November 30,

   2010, to residential addresses in the state of New York and 16,893 end-consumer recall-

   notification letters were mailed between September 25, 2010 and November 20, 2010 to

   residential addresses in the state of New Hampshire.” Id. at 147 (citation and internal quotation

   marks omitted).

          However, the Court found this insufficient, because the receipt of a recall-notification

   letter did not mean that the recipient purchased the defendant’s allegedly defective baby formula

   or even purchased any of the baby formula from the defendant at all, since “many recipients of

   the recall-notification letters had actually received free samples of [the baby formula], and thus

   were not purchasers.” Id. at 147. Therefore, the Court held as follows: “While the Court may

   make reasonable inferences from available facts, the [p]laintiffs here have provided no specific

   evidence to allow the Court to do so. Accordingly, as the [p]laintiffs’ ‘assertion of numerosity is

   based on pure speculation [and] bare allegations, the motion for class certification fails.’” Id. at

   147–48 (quoting Lewis v. Nat’l Fin. Sys., Civil Action No. 06–1308(DRH)(ARL), 2007 WL

   2455130, at *8 (E.D.N.Y. Aug. 23, 2007)).

          The Court finds that the reasoning set forth in Pagan applies in this case. Similar to the

   plaintiffs in Pagan, the Plaintiff in this case attempts to establish numerosity through evidence

   that is over-inclusive and which does not acknowledge that many of the Merchants that the

   Plaintiff assumes would be Class members might not actually share the Plaintiff’s breach of

   contract claim for the host of reasons articulated above. Instead, in order to demonstrate



                                                    31
Case 2:11-cv-04743-ADS-AKT Document 162 Filed 02/22/14 Page 32 of 37 PageID #: 7191



   numerosity, the Plaintiff needed to proffer evidence showing that a sufficient number of other

   Merchants (1) had Merchant Processing Agreements substantively the same as the Plaintiff’s

   Subject Agreement and (2) experienced an injury similar to the Plaintiff’s alleged injury while

   using the Omaha Platform. As the Plaintiff has not done so here, the Plaintiff has not established

   the necessary element of numerosity.

           2. Commonality

           Even assuming that the Plaintiff had met Rule 23(a)(1)’s numerosity requirement, the

   Plaintiff’s motion for class certification would still fail, because the Plaintiff has not satisfied the

   commonality requirement of Rule 23(a)(2).

           In this regard, the Plaintiff seeks to certify four subclasses who were either parties to a

   Merchant Processing Agreement with FDMS or a Merchant Processing Agreement with FDMS

   and Wells Fargo that provided for the assessment of Authorization fees in general and/or AVS

   fees. Thus, according to the Plaintiff, the commonality requirement of Fed. R. Civ. P. 23 (a)(2)

   is met because the Class members all entered into Merchant Processing Agreements which had

   “functionally identical language” concerning the fees to be charged and which were governed by

   the laws of the state of New York. (Pl. Mem., pg. 28.) The Plaintiff also contends that the

   question of how to interpret the phrase “per item,” which is used in the Subject Agreement with

   respect to the Authorization and Capture Transaction fees and the AVS fees, is a common

   question to all the Class members and, once resolved, will result in common answers.

           In addition, the Plaintiff identifies a number of supposedly common facts that it claims

   predominates over all individual issues. These purported common facts include the following:

   (1) the Merchants submitted their processing requests on the Omaha Platform; (2) the ratio of

   Authorization and Capture Transaction fees and AVS fees charged to completed Sale



                                                      32
Case 2:11-cv-04743-ADS-AKT Document 162 Filed 02/22/14 Page 33 of 37 PageID #: 7192



   transactions should be 115 percent; (3) the Omaha Platform allegedly charged Merchants

   Authorization and Capture Transaction fees and/or AVS fees for their Ticket Only and other

   non-authorization and non-AVS requests; (4) FDMS allegedly overcharged Merchants because

   the Omaha Platform was improperly programmed to charge Authorization and Capture

   Transaction fees whenever a Merchant communicated with the Omaha Platform, regardless of

   what type of processing service the Merchant was requesting; and (5) FDMS allegedly charged

   Merchants Authorization and Capture Transaction fees for Return, Void Sale, Void Return and

   Void Ticket Only transaction requests even though no authorizations are performed in

   connection with these requests.

          However, despite the Plaintiff’s contentions, the Court finds that the Plaintiff has not

   demonstrated that all the Merchants who would be members of the proposed Class have actually

   entered into substantively similar Merchant Processing Agreements with FDMS or with FDMS

   and Wells Fargo. In fact, the evidence before the Court indicates that these Merchant Processing

   Agreements can vary in material ways, particularly with respect to the language concerning how

   fees will be assessed. In this regard, with respect to Authorizations, some Merchant Processing

   Agreements provide for an assessment of a “Transaction fee” rather than an “Authorization and

   Capture Transaction fee” on a per item basis. Other Merchant Processing Agreements stipulate

   that fees will be paid on a per trans/communication basis.

          Nevertheless, the definitions for all four subclasses include Merchants who executed

   Merchant Processing Agreements that provide for “the assessment of Authorization fees and/or

   AVS fees” without any caveats. Thus, if the Plaintiff’s motion were to be granted, the Court

   would likely be confronted with a Class consisting of Merchants who actually agreed to different

   terms concerning the basis by which these fees should be assessed. Therefore, in the Court’s



                                                   33
Case 2:11-cv-04743-ADS-AKT Document 162 Filed 02/22/14 Page 34 of 37 PageID #: 7193



   view, “[t]he commonality requirement is [ ] not satisfied as the [P]laintiff cannot advance a

   collective breach of contract action on the basis of multiple contracts.” Jim Ball Pontiac-Buick-

   GMC, Inc. v. DHL Exp. (USA), Inc., 08-CV-761C, 2011 WL 815209, at *4 (W.D.N.Y. Mar. 2,

   2011) (citation and internal quotation marks omitted).

          While the Court could potentially modify the subclass definitions to eliminate this over-

   inclusivity, the Court finds that additional hurdles exist for the Plaintiff with respect to

   establishing the commonality prong. For instance, the Court finds that the Plaintiff has failed to

   demonstrate that there has been an injury common to all potential Class members. While the

   Plaintiff extensively discusses its own injury as a result of FDMS’s alleged overcharging, it

   highlights no similar examples with respect to other Merchants. Instead, the Plaintiff apparently

   speculates that because a Merchant was processing on the Omaha Platform, it too must have

   been charged the same Authorization and Capture Transaction fee and/or AVS fee twice for the

   identical Sale transaction – that is, once for the Authorization transaction request and a second

   time for the Ticket Only transaction request – in alleged violation of the terms of its Merchant

   Processing Agreement.

          Further, the Court disagrees with the Plaintiff’s assertion that factual variances between

   the Plaintiff and the proposed Class members, such as the involvement of different ISOs and use

   of gateways other than Authorize.net, are inconsequential. These factual variances may impact

   whether a Merchant negotiated with its ISO any terms in its Merchant Processing Agreement and

   how a Merchant understood the terms in its Merchant Processing Agreement based on the

   explanations it received from its ISO. In turn, these factors would require the Court to conduct

   individual evaluations in the event the Court determines the terms of the Merchant Processing

   Agreements are ambiguous. Moreover, which ISO a Merchant worked with could affect whether



                                                     34
Case 2:11-cv-04743-ADS-AKT Document 162 Filed 02/22/14 Page 35 of 37 PageID #: 7194



   it was billed for a certain communications or transaction requests it submitted, while which

   gateway a Merchant used could affect how the Merchant submitted its transaction requests to the

   Omaha Platform. As such, other Merchants may not have experienced the same alleged injury as

   the Plaintiff.

           Accordingly, because the Merchant Processing Agreements can differ with respect to

   how fees are charged and because there is no proof of common injury, the commonality

   requirement of Fed. R. Civ. P. 23(a)(2) is not met.

           3. Predominance

           The Plaintiff also fails to meet the predominance requirement of Fed. R. Civ. P. 23(b)(3)

   for substantially the same reasons it fails to satisfy the commonality requirement. In this regard,

   “courts properly refuse to certify breach of contract class actions where the claims require

   examination of individual contract language.” In re U.S. Foodservice Inc. Pricing Litig., 729

   F.3d 108, 124 (2d Cir. 2013). For example, in Spencer v. Hartford Financial Services Group,

   Inc., 256 F.R.D. 284 (D. Conn. 2009), the plaintiffs brought a breach of contract claim on behalf

   of “a class of individuals whose settlement agreements state[d] the total cost or value of the

   settlement, or the cost or value of the portion being structured.” Id. at 303. However, the

   defendants “dispute[d] that the agreements [were] themselves materially uniform, pointing to the

   variance in terms and the different meanings of ‘cost,’ ‘value,’ and ‘present value.’” Id.

           After “review[ing] many of the agreements,” the Spencer court “determined that, while

   they do exhibit patterns to some extent, [the agreements] [were] not sufficiently uniform to allow

   common issues to predominate in a class-wide breach of contract action involving over two

   thousand contracts.” Id. at 303–04. The court reasoned that “[t]he contracts simply exhibit[ed]




                                                   35
Case 2:11-cv-04743-ADS-AKT Document 162 Filed 02/22/14 Page 36 of 37 PageID #: 7195



   too much variation to permit common issues to predominate over individual issues on the breach

   of contract claim.” Id. at 304.

           The Court finds this reasoning to be applicable in this case. While it appears that the

   terms of the Merchant Processing Agreements may overlap, the Court cannot ignore the

   significant variations in the way these Merchant Processing Agreements stipulate which fees will

   be charged and on whether these fees will be assessed on a per item, per transaction or some

   other basis. Indeed, a critical question in the Plaintiff’s case is how the Subject Agreement’s use

   of the phrase “per item” should be interpreted in order to determine whether the proper amount

   of AVS fees and Authorization and Capture Transaction fees were assessed. Not all of the

   Merchant Processing Agreements contain this language, and the Court will be called on to make

   individual interpretations based on the different phrases and language used in the various

   Merchant Processing Agreements.

           Therefore, since individual questions clearly predominate over common questions, the

   Plaintiff fails to meet the predominance requirement and class certification pursuant to Fed. R.

   Civ. P. 23 is inappropriate in this case. As such, the Court denies the Plaintiff’s motion for class

   certification on this basis as well.

   D. As to Whether the Court May Still Exercise Jurisdiction Over This Case

           The Court has declined to grant the Plaintiff’s motion to certify a class. Due to this

   ruling, the Court must now confront the question of whether it may still exercise jurisdiction over

   this action. This Court has already indicated that when a “[p]laintiff’s motion for class

   certification must be denied, [the] [p]laintiff’s action is no longer a class action, and [the] [c]ourt

   cannot retain subject matter jurisdiction in diversity over [th]e [p]laintiff’s action pursuant to the

   Class Action Fairness Act.” McGaughey, 2007 WL 24935, at *3 (S.D.N.Y. Jan. 4, 2007).



                                                     36
Case 2:11-cv-04743-ADS-AKT Document 162 Filed 02/22/14 Page 37 of 37 PageID #: 7196



   Accordingly, in this case “[b]ecause the Court denied [the] Plaintiff[’s] motion for class

   certification, [the] Plaintiff[ ] must now establish the Court’s diversity jurisdiction over their

   state law claims.” Nash v. The New School, No. 05 Civ. 7174(KMW)(FM), 2009 WL 1159166,

   at *1 n.4 (S.D.N.Y. Apr. 29, 2009).

           However, as previously discussed, complete diversity does not exist in this case, since

   both the Plaintiff and the Defendant FDMS are citizens of Florida. Accordingly the Court cannot

   exercise subject matter jurisdiction over the Plaintiff’s individual action under the general federal

   diversity statute of 28 U.S.C. § 1332. Heinonen v. Cramer & Anderson LLP, 3:13-CV-00459

   VLB, 2013 WL 6773641, at *10 (D. Conn. Dec. 20, 2013)(“For a case to be diverse, there must

   be complete diversity of parties; ‘diversity is not complete if any plaintiff is a citizen of the same

   state as any defendant.’”) (quoting St. Paul Fire & Marine Ins. Co. v. Universal Builders Supply,

   409 F.3d 73, 80 (2d Cir.2005)) (internal brackets omitted). Consequently, the Court has no

   choice but to dismiss the Plaintiff’s complaint without prejudice for lack of subject matter

   jurisdiction. McGaughey, 2007 WL 24935, at *3 (“Because denial of class certification leaves

   this Court without subject matter jurisdiction, the complaint is dismissed.”).

                                         III.    CONCLUSION

           For the foregoing reasons, it is hereby:

           ORDERED that the Plaintiff’s motion to certify a class pursuant to Fed. R. Civ. P. 23 is

   denied; and it is further

           ORDERED that this case is dismissed without prejudice for lack of subject matter

   jurisdiction. The Clerk of the Court is directed to close this case.

   SO ORDERED.
   Dated: February 22, 2014                                       ____/s/ Arthur D. Spatt______
                                                                      ARTHUR D. SPATT
                                                                   United States District Judge

                                                      37
